                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES,

                             Plaintiff,
                                                                    Case No. 05-CR-240
              -vs-

RICHARD ALVA,

                             Defendant.


                                DECISION AND ORDER


              Before the Court is defendant, Richard Alva’s, request for a de novo review of the

detention order issued in the above-captioned case by Magistrate Judge Patricia J. Gorence.

              The Court has reviewed the materials submitted and other related filings and rules

as follows.

              The defendant’s request to have the Magistrate Judge’s detention order modified

in any way is DENIED.

              Dated at Milwaukee, Wisconsin, this 26th day of January, 2006.



                                                     SO ORDERED,


                                                     s/ Rudolph T. Randa
                                                     HON. RUDOLPH T. RANDA
                                                     Chief Judge




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